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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 VICTORIA DIVISION

 UNITED STATES OF AMERICA,              )
                                        )
          Plaintiff,                    )
                                        )
          v.                            )
                                        )
 TROY MORELAND, ASHLEY MORELAND, )                      Case No. 6:18-cv-00053
 FIRST STATE BANCSHARES OF              )
 YOAKUM, INC., AND OCWEN                )
 FINANCIAL CORPORATION,                 )
                                        )
          Defendants.                   )
 _______________________________________)

                JOINT MOTION TO SUBSTITUTE PARTIES AND TO
               AMEND THE UNITED STATES’ ORIGINAL COMPLAINT

       Plaintiff, the United States, and Defendant Ocwen Financial Corporation (“Ocwen”),

jointly move the Court to substitute in U.S. Bank National Association, as Trustee for MASTR

Asset-Backed Securities Trust 2006-HE4 Mortgage Pass-Through Certificates, Series 2006-HE4

(“U.S. Bank as Trustee”) as a defendant in place of Ocwen and allow the United States to amend

the original Complaint pursuant to Fed. R. Civ. P. 15(a)(2) because the United States has

received information that U.S. Bank as Trustee may claim an interest in the real property at issue

and is not yet a party to this proceeding, and because Ocwen is the parent company of Ocwen

Loan Servicing, LLC which services the loan but claims no interest in the real property at issue.

       The United States shows as follows:

1.     The United States filed its complaint on July 17, 2018, naming Troy Moreland, Ashley

Moreland (collectively “the Moreland Defendants”), First State Bancshares of Yoakum (“First

State”), and Ocwen Financial Corpration (“Ocwen”) as defendants in the case [Dkt. #1]. Its suit
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seeks to reduce the federal tax assessments that have been made against the Moreland

Defendants to judgment, and to foreclose the federal tax liens that have been filed against the

Moreland Defendants against their homestead located at 369 Bruce Lane, in Yoakum, Texas.

2.      The United States served all defendants. [Dkts. # 6-9]. The Moreland Defendants have

failed to answer the United States’ complaint; First State is represented by counsel and has filed

a General Denial and Ocwen has filed an answer. [Dkt. #s 10, 11].

3.      In September of 2018, a document entitled “Corporate Assignment of Deed of Trust” was

filed in the deed records for Victoria County, Texas. See Ex. 1. The document assigns the Deed

of Trust executed by the Moreland Defendants on the Bruce Lane property at issue in this suit

from Decision One Mortgage Company, LLC, to U.S. Bank as Trustee. Id.

4.      Additionally, Defendant Ocwen claims no financial, legal or lien interest in the Bruce

Lane property that is the real property that is at issue in this suit. Defendant Ocwen is only the

parent corporation of Ocwen Loan Servicing, LLC, which is the servicer of the mortgage of the

Bruce Lane property. Ocwen joins in this motion.

5.      The additional defendant, U.S. Bank as Trustee, that was not named when this suit was

filed, is a necessary party because under 26 U.S.C. § 7403(b), all persons that claim an interest in

the real property at issue must be made parties to the action. The title documents provided to the

United States were not clear at the inception of the suit, and U.S. Bank as Trustee became the

owner of the mortgage on the Bruce Lane property in September 2018, after the United States’

suit was filed.

6.      Attached, as Exhibit A, is the United States’ First Amended Complaint, which it seeks

leave to file in order to name U.S. Bank as Trustee, as a defendant. The United States’ First



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                            CERTIFICATE OF CONFERENCE

       I certify that I conferred with Richard Chapman, counsel for First State Bancshares of
Yoakum, on November 1, 2018, and he stated his client is unopposed to the relief sought in this
motion.

                                            /s/ Moha P. Yepuri
                                            MOHA P. YEPURI


                               CERTIFICATE OF SERVICE

        I certify that on November 1, 2018, the following persons have been served with a copy
of the foregoing motion via email by the Court’s ECF system:

Jeffrey Ray Seewald
McGlinchey Stafford, PLLC
1001 McKinney, Suite 1500
Houston, TX 77002

Richard T Chapman
Anderson Smith et al
PO Box 1969
Victoria, TX 77902

                                            /s/ Moha P. Yepuri
                                            MOHA P. YEPURI




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